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      BUZZ HOLDINGS L.P.
 6

 7

 8
                                UNITED STATES DISTRICT COURT
 9
                                NORTHERN DISTRICT OF ILLINOIS
10
                                         EASTERN DIVISION
11

12    HOLLIS HILL, individually and on behalf of all          Case No. ________________
      others similarly situated,
13                                                            DECLARATION OF KATE
                            Plaintiff,                        URQUIOLA IN SUPPORT OF
14                                                            DEFENDANTS BUMBLE INC.’S
             v.                                               AND BUZZ HOLDINGS L.P.’S
15                                                            NOTICE OF REMOVAL
      BUMBLE, INC. and BUZZ HOLDINGS, L.P.
16    Defendants.                                             [Circuit Court of Cook County Case
                                                              No. 2021-CH-5970]
17

18

19
             I, Kate Urquiola, hereby declare as follows:
20
                     1.     I am employed by Bumble Trading LLC (“Bumble Trading”) as
21
         Head of Product, Services, and Marketing Analytics. Bumble Trading is an indirect
22
         subsidiary of Defendants Bumble Inc. (“Bumble”) and Buzz Holdings L.P. (“Buzz
23
         Holdings”) (collectively, “Defendants”). I make the statements in this Declaration
24
         based upon my personal knowledge and based upon records maintained in the
25
         ordinary course of business. If called upon to do so, I could and would testify
26
         competently thereto.
27

28

      DECLARATION OF KATE URQUIOLA ISO DEFENDANTS’ NOTICE OF REMOVAL
      ny-2307252
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